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                         ~N "I"~~`~ U~7~~ll~ ~"I"ArI:S ~~.NK~`2U~'`I~'Y C~7C~f~~I`

                                 liQFt,"1H~ D~STRI~`1' OF UELAV~I~RL

Ii7 r~:                                               ) ~hapti~r ~ 1

QUZKSILVER,INC., etal.,                               ) Case No. ~5-1180 {~iLS)

                     ~ebtprs.'                        )
                                                            Jointly Administered
                                                            ~b~ecti~n IDcadl~~ae: x~ebruary 5,201G at 4:OQ p.m.
                                                            ~-Iearing )ate: Scl~edaled only if Nee~ssary




               IFCDUI~.TJ[~ 10~0i~'~'I~IG~I APP~,I~A.T~ON I+'OYt C6)MP~1`dSA'1'i()1~1
                          r~l~Tl) RIN;IIV1B1L1RS~lYYJ[El~l'~' OF EXPENSES CAF
             PAC]E~IUL~Kl S7CAI~IG ~g~Y3Z., c4i JOIo1E~ LLP,AS CO-COYJNS~L TQJ
                   TI-~~ llEBTORS All16~ DEI3TOR.S II~1 POSSESSION,~'OR
          THE PERIOD FROM llFC]EM[BEIZ.1 2015 T]E~ROUG~-T y?EC~MBER 31 2015

Narne o C Applicant:                                     Pac~iulslci Stag 1i~hl &tones I.LP
Authorized to Pa~ovid~ Professional Services             Debtors and Debtois in Possession
tn:                         ~          _ ____                                                    ._
                                                         Nunc.Pr•o Tune to Septiember 9, 201 S by o~•der
Date of lZetient~on:                                     signed October 6, 2015      ~_ ~____
Period for which Compensation and                        becember 1, 2015 through Decembe~~ 31, 2plSz
~Zeimburs~ment is Saught~
Amount of Compensation Sought as Actual,                 ~~ 1 ~q,31.50
Reasanab~e and Necessary:                                      _          __                  __         _.,._~_
l~mount of expense Reimbursement Sought                  $ ~~a~0 Sg
as Actual, Reasonable and Necessary:                              _            _          _ ~_^~

This is a:          x monthly          interim          final application.

                  Tk~e total tine expended for fee application preparation is approximately 2.0 hours

and the corresponding compensation requested is appraximat~l_y $800.QQ.


 ~ The llebtors and the last four digits of'their respective taxpayer identification numbers are as follows:
Quiksilver, Inc.(9426), QS Whvlesai~, Inc.(8795); D~ Dir•eat, Inc.(8304), DG Shacs, lnc.(0)GS), l~idra, InG,
(8945), 1~awk 17esi~ns, ina (l l21), Mt. Waimea, Inc.(5846), Q.S. Optics, Tnc,(2493), QS Retail, IYic.(0505),
Quiksilver Entertainment, Tno.(9b67), and Quiksilver Wetsuits, Ina (9599). '~'he address of the Debtors'
corporate headq~iartars is 5600 ~r~osy Circle, HuntingCon Beach, California 92649.
2 'The applicant ~•eseryes the right to include any time expended in the time period indicated above in futw•e
applicaCian(s) if it is not included herait},


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                                   PItY~i~ API'LI(:~'~'~~l~S T'YL +~~
                                                                                                        .._
                                                                                                                                .:.
  ~~~~        _^ ~'~~'IaC~ ~Q~'~S'E'C~   M    ~.~f~t1~S~L~~       ~.~t~it~3~6~~       ~.J~?~)~`0~'~t~         ,t~l#~~'U'~'Lt~
 ~'I~8{~                                          ~+'f'.E'S       ~~ . ~I1SE8             ~+'C~S              ~i.T~ . ~t13~5 .

1 1/23/15       09/09/l5 -49/30/15      $32,947.50   $ 436.40                          $26,358.00 ~                 $436,0
12/21[15        1Q/01/]5 - 10/31/IS~    ~:i8,391.00  $1,664.34                         $30,7.12,80                $1,6b4.34
O1/06/lb        1I/O1/1S ~`ll/30/15 ~ T $12,133.00 ~ $ 942.76                         ____I'endin~                  Pending




                                                                                                               ~_
       Name a                   '~osi~ t~~~ cif-the ~p~~l giant       " ~-It~t~~~y       fic~t~~       T~ ~a~
    ~'~•t~ ass o~~~l             ~~nataei• c~f'~'e~ iii that             ~i~Iin          H~iurs ' ~a~rip~~ s~~~a~
     Ia~r~i~ricl~ta~              ~g~si~ivn, P~~ior I~.elev~rtt            ~~~te         B~lle~
                              ~~~a~t•~e~c~, ~'e~r s~f-Q~itaiz~~~       ~icit~t~~~~g
                                ~.,1~~Y25~ ~0 ~~'~C~IC~3 l~2'~~ t3~     ~~1I~I2~£~5~.


Laura Davis Janes ~ Partner 2000; Joined Firm 2000;                      $1,025.00          12.70             $13,017.50
                          iVlember of I7E Bar since 198b
David M. 13e~~tenth~l     Partn~~• 1999; Member o~'C.~ Bat'              $ 875.00 ~ 2.90                      ~ Z,S3~.50
                          since 1993
John  A.  Morris M        I'at~tner 2008; Member of NY Bar               $ 875.00           16.50             $1 ,437.54
                          since 1991
Harry D. Hachman~         (3f Counsel 2004; Member ofCA                  $ 7.50.00 ~ 6.60 ~ $ 4;950. 0
                          Bai• since 1987
Michael R. Seidl ~ I'a~-~nez• 2003;1'vlerriber of ~                      $ 675.00           13.60             $ 9;180.0
                           Washington, ll.C. Bar since 1996;
                          Member of DL Bar since 2p00
William L. Ramseyez• Of Counsel 1989; Member of CA                       $ 650.00             1,90            $ 1,235.00
                          Bar since 1980
Cheryl ~. Knotts          Pa~•alega12000                                 $ 295.00            0.80    $ 236.Q~
Denise ~,. I~az~ris       1'aralega12001 ~~                              $ 295.00            0.6U ~ $ 1'17.(}0
~'atricia L.~Cunifi'    _ Pax~al~l 20~0~ ~^                              $ 295.00           15.3Q ~ ~~ 4,513.50
~'harles .T. Bouroulcis Case IVlanagernent Assistant; 2001               $ 225.fl0           3.3Q ~$ '742.50
.t~ndrea K. Paul           Case 1Vlana~ement Assistant 2001 ~            $ 25.00             0.20  ~~     45.0
                  ,
Karen S. Neil ----_-   -~t;ase Management l3ssistant ZJQ3                $ _225.0            1.60    ~ 360.Q0

                                             ~ranc~'Y'ota~: ~ 515431.5
                                             "~'oY~~ lHo~a~•s:    76.OU
                                             l~le~nc~ed ~t~te: $ 676.73




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                                  COMPEI~ISATIOIV ~3Y CATE(Y~1gY

            ~"a~riject ~~te~oz•ies ....~:..~~.~.~:_          '~`vt~i ~c,~~a~s           'I'o~~1 Fees
Banla~up~ Litigation                      ~                  ~        _____ 6.20               $ 5,100,00
Case Administ~~ation                                                          ]8.b0       T $ 5;144.00
Claims AdminlObjections                 ~~                 ~      ~           24.00    ~~ $18;835.00
Compensatiion ofProfessional ~~T ~~                         ~               ~  3.7'0       ~ $ 1.,985.00
Executory Contraa s                       ~~               ~~W~~~~         V~M23~ 50 ~~T-- x'20,367.50



                                           ~~PENS~ SC7M1WiAl2Y
   ._.~_.     ____T_—                 ___.__. ~__._
      ~x~ae~s~ ~~tegory                                ~e~~~ie+~ 'r~~~~~~•                             'I'vf~1
                                                       _~:...~~f~i~i~.a~aie ____--~----               ~ en~____~es-
Delivery/Courier Service             Digital Legal                      _             ~              ~ $ 58.96
Legal Research                       Lexis/Nexis and Westlaw                                             $56 .55
Court Kesearch ~                     Pacer                                          ~~               ~ $ 0,60
Postage     ~       ^~               U~ Mail                                                             $ 13.70
~epraduction Expense                       _~_          _~_         ~`_~~ _ ~_                           $30l.20
                                                                                                        --------
Re~roduction/ scan Cop ~ ~ _ _ _~                                                                        $ 91.50
Travel Zxpense ___._~_........~.__ _ ~'etty.Gash (toll fee)-------_.._._—...--:---____                   $ J 1.08




'PSI&J may use one or• more service pt•ovidets. The service providers identified I.~ar•cin below are the primary .
service providers i'oj• the categories described.


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                        ZN "~'HL ~.JNTT~D ST~TrS Bl-~.NKRUPTCY COURT

                                   FQR THE DISTRICT OF DELAWARE

~n r~:                                              ) Chapter 11

QUIICSILVER, TNC., ~~ ar.,                          ) Case No. 15-11880(BLS)

                     L~et3tors.~                    )
                                                          Jointly Administered
                                                          Objection Deadli~~e: 1"~eba•r~a~y S, 201G at A:QO p.m.
                                                          Hearing Dale; Selaedtrled only it' Neeessa~ry




              FOURTH Ii~~NTHIL,Y APPLICATION IFOR COM~'ENSATI~I~1
                     AND REIMBURSElVIENT OF EXPlCN~ES OF
            PACHULSKI STAND ZIEHL &JONES LLP, AS CO-COUNSEL T()
                TIDE D~BTOItS ANI)D~BTOI~S YN POSSESSION,I+'4R
         THE PERIOD FROIl~ ll~CEMBETt 1 2015 THTtOUGH[ DECEMBER 31 2015

                 Pl~rsuant to sections 33Q and 331 of Title 11 of the United Sates Code (tl~a

"Bankruptcy Code"), Rule 20Y6 of the Federal Rules of Banlat~ptcy Proced~.Xre (callecti~vely, the

"Bankzuptcy Rules"), and the Court's "Order Pursuant to Bankruptcy Cady Sections 105(a) and

331 Establishing Interim. Compensation Procedures," signed ors or about Oetaber 28, 201 S (the

"Administrative O~~der"), Pachulski Stang ZXehl & Jo~1es LLB'("PSZ&J" or the "Fits"), Go-

Caunse~ to tlae Debtors and Debtoz•s in Possession ("Debtors"); hezeby submits its Fourth

Monthly Application for Compensation and for Reimbursement of Exp~:nses for the Perzod from

]~ecember 1, 2015 through December 31,.2015 (the "Application").




' ,The Debtors and the last four digits oftheir respective taxpayer identification numbers ar•e as follows:
Quiksilver, Ina (9426), QS Wholesale, Inc.( 795), UC Dif•ect, lnc.(8364), DG Shoes, lnc,(0965}, Sidra, Inc.
(89A5), Hawk Designs, Inc.(l 121), Mt. Waimea, Inc.(5846), Q.S. Optics, Tnc,(2493), QS Retail, Tne.(0505),
Quiksilver Entertainment, Inc.(9667), and Quilcsilver Wetsuits, Inc.(9599). The address ofthe Debtors'
corporate headquarters is 5G00 Argosy Circle, Huntington Beach, California 92649.


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                ~3y this Application PSZ&J seeks a nlonthi~ interim allowance of com~e~isatic~n

in the amaun~ of $51,431.50 azld actual and necessary expe~~ses in the amount of $1,040.59 for a

total allowance of $52,472.9 and payment of $41,145.20(KO% of t11e allo~vved fees) and

reimbursement of $1,040.59(100% of the allowed expenses)fox a total paym~;nt of $42,I8S.79

for the period December 1, 201 S trough December 31, 201 S (the "Interim Period"). In suppo~•t

of this Application, PSZ&J x•espectfully represents as (allows:

                                               ~3ac~~rouyid

                 1.         On September 9, 201 S, Debtors commenced their cases by filing voluntary

petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue in possession

of their pzoperties and continue to operate and menage their businesses as debtors in possession

pursuant to sections 1107(a) and 1108,of-the Bankruptcy Code. An official. committee c>f

unsecured creditors ("Committee") was appointed ix1 these cases o~n or about September 22,

2015. No trustee ox examiner has been appointed in any of the Debtors' chapter 11 cases.

                 2.         The Court has jurisdiction aver this matter pursuant t~ 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28.U.S.C. § 157(b)(2).

                 3.         O~~ or about October 28, 2015,the Couxt signed the Administ~•ative Order,

authoxizzng certain professionals ("Professionals") to submit monthly applXcations for interim

compensation and reimbursement fot• exp~ns~s, p~zrsuant to the procedures specified therein.

The Administrative Ox•der provides, among oi:her things, that a Professional may submit nlont111y

fee applications. If no objectiions are made within twei~ty~one (21)days after service of the

monthly fee a~7plicatiarl the Debtors are authorized to pay the Professional eighty percent(80%)



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of tlae requested fees and cane hund~•ed percent(1.00%) ofthe requested expenses. Be~innii~g

with the period enc~in~ T~ecember 31, 201 S, and at three-month intervals thereafter, each of the

1'rafessiona~s sh~11 file and s~xve a~~ interim applic~tioxl for allowance ofthe ai~aunis sou~l~t in

its nianthly fee applications for that period. All fees and expenses paid are on ~n interim basis

ur~ti1 final allovvanc~ by the Court.

                   ~.           The ~~et~ntion ~f P~1&J, as Co~Counsel to tl~e T.?ebtars, was approved

effective as of S~ptcmber 9, 2015 b~ Chis Court's "()ad~r Graniing Debtors' Application Ptu~suant

to Sections 32'7(a} anti 329 of the Bankruptcy Code and Banluuptcy Riles 2014 and 2016 a~~d

Lo~aX Bankxuptey Rules 2014-1 and 2016-1 Authari7i~ag the Employment and Retention of

Pachulski Stan; Zielnl cY~ Jaz1~s LZaI' as Cn-Counsel for the Debtors Nunc PNo Tunc to the Petition

Date,'° signed on or,about Octobc;l• 6, 2015 {the "Retention Order"). The Retentio~~ Order

authorised P~7.&J to be compensated on air hourly basis and to be reimbursed for actual and

necessary out-of-pocket expenses.

                         ~'SZ&J's AI'~'LIC~,T~ON lFOi~. C~1V~PFN~ATi(.~1~1 Alal~
                               ~+QtZ ~~.LIIij~B~J~2~~IVXlEl~1'T ~Y+' E~I'LI~CSE~

                                        ~orc~ 8173~t10y1 ~cllt~ i1YiC~ ~tS SOtYI-ce

                   5.           ill servzces far which PS7&J ~•~quests compensation wez~e perfozmed tar

ox on behalf of the Debtors.

                    6.          PSG&,T has received x~o payment and no pxomises for payment fi•c~m aray

source other than from the I)ebl:ors for services rendered ox to be rendered in any capacity

 whatsoever in connection with the matters covered by this Application. 'I~here is no agreement or

 understanding between PS7&J and any atller peX•son ~1her than the paz-ti~ers of PSI&J for the


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sharing of coznpensatio~i to be recGiv~d for s~z~vi~:us rend~z•ed in This aas~. IaS;C&.~ has ~•eceiv~d

payments from the Debtors during tl~e year prior• to the Z'etitian vate i~1 the amount of

$ X 50,000.00. Upon final reconciliation of the amount actually expended pre~el:ition, any balance

remaining fz~orn the prepetition payments to the Firm was credited tq tla~ Debtors and utilized as

PSZ&J's retainer to apply to postpetition fees and expenses pursuant to the corazpensat~on

procedures approved by this Court in accordane~ with the B~n~ruptcy Code,

                                                 I~'ee ~tatei~~ents

                  7.           The Fee statements for the ~ntet~im Period a~•e attached hereto as exhibit A.

These statements coiztain daily time 1o~s describing the time spent by eAch attot~ney and

paraprafess~onal durira~; the Intc:rin~ T'eriod. To the best of I'SZ&J's knowledge, this Application

complies with sections 330 and 331 of the 13an7cruptcy Code, thy, Bankzuplc~ Rues ~ncl tih~

Admi~3istx~ati~v~ Order. T'SZ&T's time reports are initially handwritten by the attorney or

paralegal performing the described sexvices. The time repo~•ts are organized nn a daily basis.

PSZ&J is particularly sensitive to issues of"l~.rm~ing" and, unless time ~e~vas spent in one time

frame on a variety of differeiat matters far a parCicular client, separate time entries are set forth in

the time reports. I'~i7&J's ek~~~•ges fUr its px'O~~SSIOricl~ S~xVlGOS c~P~ ~c1S~d L1~77QI1 ~:~'l~ t~111~, nature,

extent and value of such services and the cost of comparable services other than in a case under

the bankruptcy Code. PSZ&J has red~rced its charges related. to any nan-working "trav~;l time"

to fifty percent(~0%)of I'SZ~J's standard hourly rats. To the extent it is ft;asxble, PS7&J

pro#'essionals attempt to work during travel.




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                                       ActYYa~ and Necessa~~y~x~~~~xses

                 8.       A sum~lary of actual and necessary expenses incurred by l'Sl&,J for the

Interim Period is attached hereto as pant of ~ xh~bit A, PS7&J customarily ~har~;es $0.10 per

pale Apr pl~otocop~in~; expenses rebated to cases, such as these, arising iz~ Delaware. ~'S7&J's

photocopying machines auto~n~ticall~ record the number of cc~pi~s made ~laen thG person. that is

doing the copying enters the client's accou~lt number into a device attached to the photocopier.

PSZ&J summa~•izes each client's photocopying charges on a daily basis.

                  9.          PSZ&J charges $1.00 per pagE far out-going facsimile transmissions.

There is no additional charge 'Tor long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PS7&J'S Cc~JCLlIdt10~ O~'the actual costs incurred by PSZ&J fox•

the machines, s~rpplies and extra labor• expenses associated with sending telecopie~ and is

reasonable in relation to the amount charged by outside vendors who }provide siznilax services.

PSZ&J does not charge the Debtors for the z•eceipt of faxes in these cases.

                  10.         With z•espect to providers of an-line legal z•escarch services (e.~., I_.EXIS

and ~I;S`1'Ta~ W), PAZ&,Y charges the standa~•d usage rates these providers charge ~'or

computerized legal research. PSZ&J bills its clients the actual amounts c1lar~ed by such

services, with nn premium. Any volume discount received by PS7,&J is passed nn to the client.

                  11,         PSZ&J believes the.foregoing rates are the market rates that tl~~ majo~~ity

of lam firms charge clients Fox such services. In-addition, ~'SZ&J believes that such charges are

in accordance with the Am~~~ican Bar Associatiaza's("1~BA") guidelines, as set forth in the




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AAA's Statement of 1'rincipl~s, dated January 12, 1995, regarding billing for disb«rserraents dnd

other charges.

                                         ~u~~~max-~ of Services Re~~c~erecl

                   12.      The names of the partners and associates of 1'S78~J who have rendered

professional services in these cases during the Interim Period, ar~d the paralegals end ease

management assistants of]'SZ&J who provided services to these attorneys d~iring the Interim

~'erio~l, are set fo~-tla in the attached l:axhibit A.

                   13.          PSZBiJ, by a~ad thro~.~~h such pez•sons, has prepared and assisted in the

preparation of various rnotio~~ and orders submitted to the Court fax consideration, advised the

Debtors on a regular basis with respect to various matters in connection with the Debtors'

bankruptcy.cases, and pe~•formed all necessary professional sexviccs which are described and

narrated in detail below. PS7.,&J's efforts have been extensive due to the size and complexity of

the Debtors' bankrGxptcy cases.

                                          ~YYr~m~    of Serviees b r Pro'ect

                    14.         The services ~•er~dez•ed by PS7c4~J during the Interim Peziod caz3 be grouped

into the categories set forth belt~w. PSZ&J attempted t~ puce tl~e se;rvicGs pz•~vided iii the

cate~oxy that best relates to such services.. However, because certain services may relate to one

ar more categories, services pex~tainiia~ to cane category inay i~a fact be included in another

category. These services performed, by categories, are generally described below, with a more

detailed identification of the actual services provided set forth nn the, attached Exhibit A. Exhibit

 A identifies the attorneys and paraprofessionals who rendered services Y•elating to each category,



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al~n~; with the number of hours for each indivxdua~ and the total compensation sought for each

category.

            A.            13ankr~Yptcy Litigation

                   l 5.      This category z•elates to woz•k rc~az•ding rr~otions az~ adversary proceedings

in 1:he Ba~ak~•t~ptcy Couxt. During the Interim Period, the Kirin, among other things:

{1) performed work regarding I-~earing Birders;(2} attended to discovery issues; {3) prepared fox

and attended a hearing an December 1, 201 S; and (4)conferred rega~•ding litigatio~a issues.

                             Fees: $5,100.00;        I-Iau~•s: 6.2Q

             13.          base AdrAa~tiistr~tian~

                   16.        This categoa•y relates to work re~;ardin~; administaation of this case.

Mitring the Interim Period, the Firm, arr~orl~ other things, maintained doaumenl control.

                              Fees: $5,1 A~4.00;     ~-Iours: 1$.60

             C.           .Claims Administration 2~rad ()bjectao~is

                   l7.        This category relates to work regardi~lg claims ad~ninisi:ratian and claim

objections. During the Interirr~ Period, the rirm, among other thins: {1) performed work

re,~;arding claim objections;(2) reviewed and analyzed claims and •elated documents;

(3) attended to issues regarding the Reynolds claim;(4) performed work regarding the Blehm

claim;(5)drafted First: and Second Omnibus objections to claims; and (6) corresponded and

conferred regarding claim objection issues.

                              Fees: $1$,835.00;       Hours: 24.00




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                 lD.           Coniper~s~tio~~ ok ~'~•ofessionals

                        1 H.      'I'liis c;ategary ~•~lates to work regarding compensation of the Firm. ~uriX~~;

tha InteX~im 1'~riad;the Fixm, among other Chings, performed wc~rl~ regarding its October 2015

monthly fee application.

                                  Fec~: $1,985,00;             I-~oui~s: 3.70

                  ~.           ~xc~::z~oay Cont~•act~

                        19.       I`his category relates to work regarding executory c~nt~•acfis and unexpired

 leases of real }~rope~~ty. During the Interim Period, the Firm, among; other thins: (1) pc~•formed

 work re~;ardin~; a r~iotion to reject Gluck license agreeix~ent;(2) revicw~d and analyzed an

 objection to motion and performed work regarding a reply to objection,(3)~arformed research;

 arld (9~) cor~•esponded- and con~'erred regardizig executory contract issues.

                                   tees: $20,367.50;           Hours: 23.50

                                                     Valr~ataan ~f ~e~~vices

                        20.        A.t~orneys and paraprofessionals of PSI&.T exp~~dec~ a total 76,00 hau~•s in

 connection with their representation o~l~~ Debtors during the Interim Period, as follows:
----~                                                                                                                                  .
           ~''~i~~@ f3~ T              ~~ClS~fiCf~t fl~~~IG ~~S~I~iIC~II$~~         ~iltl~~t~      T ~`t}~~#~      M~ ~f}$c~~~
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                                    LXj3erti~e                                                                       ..
 Lau~•a Davis Janes   Paz~tneX• 2000; Joined l~irm 2000;-                          $1,025.00            12.70             $13,017.50
                      Member of DE Bar since l 986
 David M, Be~tenthal  Pat~tner 1999, Member of CA Bar                              $ 875.00 ~ 2.90                  ~$ 2,537,50
                      since 1993
 .~ahn A. Morris    ~ Part~ier 2008; Member of NY Bar                              $ 875.00 Y16.50                   ~ X14,437.50
                      since 1991




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    -             ',          ` E~Perieuce,    ~'e~~° ~f £3~t~itzng   (iciui~~g

                                   '~~ ~ertis~ `
Harry D. I-~~chman   ~ ~f Counsel 2004; 7Vlember of CA    $ 750.00   6.60  ~~$ 4,950.00
                       Bar since 19 7
Michael  R. Seidl  Y   Partner 20Q3; Member of ~~         $ 675.00  13.60    $ 9,180.00
                       ~Vashir~gton, D.C, Bar since 1996;
                       ~VTember of DL $ar since 2000
William L. Kamseyer Of Counsel 198 ; Mennbez~ of LA       $ 65Q.00 ~ 1.90 ~$ 1,235.Q0
                       Bar since; 1980
Che 1 A. Knotts ~~ Paralega12000                   ^~ ^ $ 295.00     0.$0    $ 236.00
Denise A. Harris _ Parale~a12001 ~_~~ _                   $ 295,00   0.60 __ $ ~177.Q0
Patricia ~. Cuniff    ~Paralega1 2000                     $ 295.00  15.30   ^$ 4,513.50
Char~cs J. Bouzaukis Case Mana~;em~nt Assistant X001      $ 225.00   3.3Q    $ 742.50
Andrea R. ~'aul ~      Case Managerneni Assistant 2001    $ 225.00   0.20 ~ $T 45.00
Karen 5. Neil ~W       Case Mana~en~.ent Assisi:ant 2003  $ 225.00   1.60    $ 360.00

                                            Grs~axci '~'ot~l: $ a1,~31.54
                                            'Total S~at~rso         `~6.0#~
                                            ~3~~ndleei state: ~    676.73

                 ?,l.        The nature of work performed 6y these persons is tuIly sal forth in Ea.hibit

A attached hereto. These are PSZBcJ's normal hourly rates fox work o~'this character. The

reasonable value of the sex•viGes rendered by PSZ,&J for the IJ~btors dux•in~ the Interim Pez~iod is

$51;931.50.

                 22.         Try accordance with the facto~•s en.umex•at~d in section 330 of the

Bankruptcy Code,it is respectfully submitted that the amount requested by ~'~7&J is fair and ,

reasonable given (a)the complexity of the case,(b)t~7~ time expended,(c)the nature and exter7t

o~'~he sc;~•vices rendered,(d)the value of such services, and (e)the costs of compaX~able services.

other than in a case under the Bankruptcy Code. Moreover•, PS7.,~4c,~ has reviewed the




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requirements of Del. Bai~lcr, l~R 2016w2 and the Administrative Order and believes that this

Application complies r~vith such Rule and Order.

                   WHI~I~F.,FORE, I'S1c4~.~ z•espectfiilly requests that, fox• tk~e pe,~iod Decennber ~,

2015 through December 31, 2015, ax1 int~rin~ allavvance b~ n~►ade to 1'SZ~J fog• conapensatic~zl in

the amount of $S 1,431,5Q and actual and necessary ~x~~nses in the a~naunt of $1,O~O.S9 fay a

total allowance of $52,472.09 and payment of $41,145.20(80% oFthe allowed fees) and

reimbursement of$1,U40.S9(100% of the allaw~d e~pe~lses) be authorized for a total payment of

$42,185.79, and for such other and further X•elief as this Court may deem just and propez•.

Dated: January _~2016                      P~iC;HCJLSKI STANG CIEHL &JONES LLI'


                                               ~~~~~
                                            .,aura I~.a~is~Janes(D~ Bar Nn. 2436)
                                           ,Tames la. O'Neill(DT Saar No, 4042)
                                           Jeffrey N. Pomez•antz(CA ~3ar No. 143710
                                           John ~: 1VSo~•ris (N"Y Bax~ Nn. X662)
                                           919 Narth Market Street, 17th I~loor
                                           Wilmington, DE X 9801
                                           `T'elephane: (302)652-4100
                                           Facsimile: (302)65:L-4400
                                           Email: Pones ~x> sz'law:com
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                                           Co-Counsel iar the Debtors and I)ebt~~~s in Possession




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STATL OF DEI,AWARL

COt1N"I'Y Q~' N~~V CAS"I'Y,L


                 l:,aura Davis Jones, after being duly sworn aecardin~ to law, deposes and says:

                 a)        I any a ~artnez• with the a~pliGant law firm. Paahulslci Stang Gehl Bz Jones

LLl', and knave been admitted to appear before ~i~is Court.

                 b)          I am fanailiax with. the work performed an behalf of the Debtors by the

lawyers and paraprofessionals of PS%BUJ.

                 c)          I have x~viewed the foregoing Application and the facts set f'o1~Ch therein

a~•e true and cone~t to the best of my knowledge, ini`~rmation and belief. Mo~•eover, I have

reviewed Del. Ba~kx•. I~R 2016-2 and the Administrative Order signed o~~ o~• about October 28,

201 S, and submit that the Application sr7bst~ntially complies with such Mule and Order.




hlotary ~~'u~1ic
My commission Expires: Q;~,~"' ~ ga



          IVOTAi~Y E~~~E.~t~
      STRT~ QF Q~l_.~,1t1~t'~~~F;
     My commission expire ~Gb. 3a~ ~Q1~~




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 i3L                    T3ankruptcy Litigation [I1430]                                6•~0                      $5,100,00

 CA                     Case administration ~I3110]                                  18.60                      $5,144;00

 CO                     Claims Admin/Objections[T3310~                               2~~~~                     $1~,835.Q0

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 EC                     I~xecutory Contt~acts [l31&5]                                ~-~~~~                    $20,367.50
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  ID            Name                                     'C'itie             Rate              S-faurs              Amount

 ARC'           Paul, Andrea R,.                         Gase Man. Asst.   225,90               ~~2~                $45.00

 CAK            Knatts, Chexyl n.                        Paralegal         295,00               0.80                $236,00

 C.~B           Bouzoukis, Charles J.                    Case Man. Asst.   225.00               ~.~4                3742.50

 DAI-I          Harris, Denise A,                        Paralegal         295.00               0.60                $177.00

 llMB           Bertenthal, David M.                     Partner           X75.00               2.94           $2,537,50

 HDH            Hochman, Harry D.                        Cpunsel           750.00               b.60           $4,950.00

 JAM            Moi7~is, John A.                         Partner           875.00              16.50          $14,437,5Q

 ICSN           Neil, Karen S.                           Case Man. Asst.   225.00               1.60                $360.OQ

 ~,DJ           Janes, Laura Davis                       1'a~tner          lO2S.00             12.70          ~13,p17,50

 MRS            Seidl, Michael R.                        Partnej•          b75.00              13.60           $9,1$0.00

 T'EC           Guniff, Natricia L.                      Paralegal         295.00              ~ s.~~          $4,S 13.50

 WLR            Ramseyer, William 1.,.                    Counsel          650.00                1 ~~~         $1,235,Q0
                                                                                              76.00            $Si,A31.S0




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  13an~~•uptcy ~.~tz~;at~on ~]L430]
12/011215      1,DJ     ~31-~     P~•epare for l2/l/l5 hearing                               1.U0      102S.OQ      $1,025;00
!2/O1/2Q15     LDJ      ~~~       Attend 12/1/15 hearing                                    z.~0       1Q25,OU      $2,050.00
12/01/2015     PT'C     1~~~      Review Amended Agenda Canceling 12/1/15                   0.20        295,00            $59,Q0
                                  Hcarin~ and cij•culate
12/0$/2015     I.,DJ    ~~.       `l,eleph~r~e call with Durc Savini regarding discovery    0.3U       102SA0            $307.50
                                  issues
12/IS/2Q15     KSN      ~1.,      1'reparehearingbinderforl2/17/IShearing.                  0.20        225,00            $4S.OU
12/1S/2015     1'I:C    fir,      Review and circulate 12/17/15 ngenda                      0.30        29S.U0            $88.SQ
12/15/2015     PEC      ~~        Review 12/17/15 Hearing Binders                            0,40       295,00           $l 18.00
12/16!2015     LDJ      ~L        Co~~respondence with Van Durrer• regarding 12/17/15        0,20      7025,00           $205.00
                                  hearing
12/22/2Q15     llAH     ~~        Research rebardin~; regulated cases for John A,            0,6Q       295.00           $177.00
                                  Morris.
]2/23/2015     LDJ      ~~~       'Telephone conference with Van Durrea•, John A,            p.20      102S.OQ           $205A0
                                  Morris regarding ~lucic liti~ali~ii
]2/23/2015     LT71     ~~        'X~elephone confiet•ence with Mark Minuti, Van             0.30      ap25.00           $307.50
                                   Uurrer, ,~ohn A. Morris regarding Gluek opposition
                                  to motion to reject, scheduling
12/23/2015     L;DJ      13~-     Telephone call with Bankruptcy Court T•egat~ding           0,10      1025.00           ~ 102.50
                                  scheduling
12/3U/2015     LDJ       ~L       Gart•espondence ro VanDurrer, Mark MinuiCi re:             0.20      1Q25.~0           $205.00
                                  Gluck litigation scheduling
]2/30/2015     I;DJ      ~~-          Correspondence to John Morris re. scheduling order     0.20      1025.00           X205.00
                                                                                             l➢r/+~                  +PJy A 00.V V




   Case Adm~inistx•~tian [~3~ 10~
 12!01/2015    PEC       c~       Review daily co.rresponclence and pleadings and            0.30       2.95.00           $88.SQ
                                  forward Co Yl~e appropriate parties
12/0!/2015     PEC       ~A           Update critical dates                                  0.80       2 5,00           $236,00
12/01/2015      KSN      ~A           Maintain document control.                             O.IQ       225,00            $22.SU
 12/02/201 S    CA7C     CA           Review document and organize to ale.                   0,10       295.00            $29.50
 12/02/2015     Pi,C     ~%A      Review daily co7•respondence and pleadings and             0.40       295.00           $1 l &.00
                                  forward to the appropriate parties
]2/02/2015      PLC      CA           Update critical dates                                  0.50       295,00           $147,50
 12/03/2015     PAC      CA           Review daily co~i•espondence and pleadings and         0. 40      29~,pp           $I 18,00
                                      forward to the appropriate parties
 ]2/03/2075     PAC      CA           Update critical dates                                  0.50       295.OQ           $147.50
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12!04/2015       AI~'C    ~A         Review daily correspondence and pleadings and        0,20       295.00           $59.00
                                     forward to the appropriate pa~~ties
121U~}/2015      PEC      L~         Update critical dates-                               ~.g~       295,00          $236.00

12/Q4/2.015      KSN      CA         Maintain document control.                           0,20       225.00           $45.00

12/07/2015       PI;C     ~A         Review daily correspor~denae and pleadings and       0.4Q       29S.OQ          $l 18.00
                                     forward to the appropriate pariies
12/07/2015       PAC      CA         Update critical dates                                0,80       295,00          $236.00

12/07/2015       t;.TB    ~~         Maintain document contt•ol,                           1.30      225.00          $292,50

12/0'7/201 S     KSN      GA         Maintain document control.                            0.20      22S.U0           $45,00

12/08/2015       PEC      ~~         Review daily c~n•espondence and pleadings and         0.~0      ~y~,pq           $88.50
                                     forward to the a}~prop~•iate pa~~ties
12/08/2015       PAC      ~=~        Update critical dates                                 ~•~~      295.00          $118.00

 12/08/2015      I'I;C     ~%A       Review docket                                         0,30      295.00           $88.50

12/09/2015       PAC       CA        Review daily correspondence and pleadings and         0.30      295,00           $88,50
                                     forward to the appropriate parties
 1 2109/20 1 5   PEC       c~        Update critical dates                                 ~~~~      295.00          $147.50

 12/10/2015      PF,C      GA        (Ipdate critical dates                                U.60      295,0           $177.4

 12/]0/2015      CJ~       CA            Maintain document control                         0.70       225,00         $157,50

 12/11/2015      PEC       C~        Review daily can•espondence and pleadings and         0.40       295.00         $118,00
                                     forwa3•d to the appropriate parties
 12/I 1/2015     PEC       CA        iJpdate cf~itical dates                               4•$0       295.00         $236.00

 12/1 1/2015     KSN       GA            Maintain document control:                        0,20       225.00          $45.00

 12/14/2015      PEC       cA        Review daily correspondence anti pleadings and        0.40       295.00         $1 18.00
                                     forward to the appropriate pa~~ties
 12i1~4/2015     I'EC      L~            r~pdate critical dues                             0:40       295.00         $1 18.00

 12(14/2015      1<SN      L~            Maintain document contra]:                        ~~ 1 ~     225.00          $22.50

 12/15/ZO1S      PEC       CA        Review daily correspondence and ~leadin~;s and        0.40       295,00         $l 18.00
                                     forward to the appropriate parties
                 PAC       ~A        Review daily coiTespondence-and pleadings and         U.40       295,00         $11$.00
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                                     forward to the app~•apriate parties
 12/16/2015      T~.SN     CA            Maintain document control.                        ~• 1 ~     225.00          $22.50

 12/17/2015      T~T~C     ~~            Review daily correspondence and pleadings and     0.40       295.00         $118.00
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 12/17/?015      GJT3      ~A            Maintain document control.                        x•50       225A0          $i 12,50

 12/17/2015      KSN       L~            Maintain document control.                        0.10       225.00           $22,50

 12/18/201 S     PrC       CA            Review daily correspondence and pleadings and     0.40       285.00         $ i 18.04
                                         forward to the appropriate paf~ties
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12/21/2415     PEC      ~A        Review daily cot~respondence and pleadings and            0.50         295.OQ             $1 47.50
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12/21/2015     PAC      c~1       Update critical dates                                     0.20         295:00              $59.00
12/21/201 S    CJB      CA        Maintain document control.                                0.$Q         225,00             ~]RO.QO
l 2/2 U2015    KEN      G~        Maintain dact~ment control.                               0.10         225.00              $22.50

12/22/2015     I'F,C    ~'~       Revier~v daily correspondence end pleadings and            x.40        29S.OU             $118,00
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12/22/201 S    KSN       CA       Maintain document control.                                 0.20        225.OQ              $45.00
12/2 /2015     CAK       CA       Review docu~i~cnts and organise to file.                   0.10        29S.OQ              $29,$0

12/30/20]5     KSN       e~       Maintain document cont~•ol.                                U.1 U       225.OQ              $22.50
                                                                                            18.60                       $5,144.00

  Claims Adrrain/Objections[~i310]
12/01/2015     I,DJ      CO       Telephony co~lfeyenc~ with r'['T, KCC,John ~.              0.40       1025.00             ~;41p.Q0
                                  Morris ►•egardin~ claim objections
12/Ul/2015     LDJ       cU       Telephone call with Jahn A, Morris re~;aK•dinb claim       0.~0       10?.5.00            $205,00
                                  objecliorxs
12/01/2015     LDJ       cn           Attention to claim objections issues, precedent        1.00       ap~g,Op         $1,025,00

12/01/2015      MIZS     CO       ~amails to at~d i'ram John Morris re; claim objection      U.4U        675.00             $270.00
                                  issues
12/Q1/2015     JAM       ~%n      7'~1Gphone conferEnce with ~,. Janes, PTI, Skadden         0.40        875.00             ~35Q.00
                                  rc; claims objections (.~).
12/02/2015      LDJ      CO           Correspondence with Michael R, Seidl regarding         0.20       1025,00             $205.00
                                      claims objections
12/02/201.5     LDJ      ~%O          Telephone conference with FTI, Michael R. Seidl,       0,80        1Q2S,00            $820.OQ
                                      John A. iVla~~t•is regarding clairt~s objections
12/02/2015      MItS     LU           Collect forms of ciaims objections; email to John      0.50         675.00            $j37.S0
                                      Mot•ris Y•e: same
12/02/2015      MRS      ~n           email to John Morris and.Laura Jones re; satisfied     0,10         675.00             $67.50
                                      claims
12/02/2015      MRS      CU           Emails from and to T3rian Martin re; claims            0.30         675.00            X202.50
                                      objection issues
12/02/2015      MRS      CO           Further ernails from and to John Morris re: claim      0.20         675,00            $135,00
                                      objeeCion issues.
12/02/2015      MRS      CO           Call with l''I,l re: claims objections                 0.70         675.00            $472.,50

1'L/02i2015     JAM      CO       'lelephone conference with L. Jones, M. Seidl, r'1"1,      0.80         87S.Q0            $700.Q0
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                                                                                            T-I.ours           Kate          Amount
                                   Skaddan re claims objections (,8).
12/09/201 S     MKS       C<)      12eview claims foa~ substantive objection in               0.60          ~'~5.00          $405,00
                                   anticipation of conference call re: same
12/09/2015      MRS       CU       Calls to and from John Morris re; clai~r~s                  0.20         675.00           $135.00
12/09/2015      1ViRS     CO       Call with .~ohn Morris and F'T'I tearr~ re: claims          0,3U         G75,00           $202.50
                                   objections
l2/d9/2Q15      M]tS      CO       Calls from and to John Mor•~•is re: l~eynolds claim         0.20         675A0            ~135,0~
12/09!2015      ,SAM      ~~       Review proofs of claim (.6); telephone conference           1.20         875.00       $1,050.00
                                   with M, Sieciel re proofs of claim (.2); telephone
                                   confej•enca with ITT, M,Siedel, Quiksilver {.3);
                                   telephone conference with M. Siedei ra divisio~i of
                                   labor (.1).
12/I 1!2015     MRS        CO      Review issues re, equity objections; email to Brian         Q.40         675,00           $270,OQ
                                   iVrartin ~'e; same
!2/11/2015      MRS        CO      Finails fa•om and to Brian Martin re: Peschku claim         0.10         675.00            $67.50
                                   objection
12/1 S/2015     MRS        LO         ,mails ft•om and to John A. Morris re: claims            0.10         675.00            $6750
                                   Ob~CCt10S1 15SU~S

12/18/2015      JAM        Ct)     E-mail to ~'i'T, Slcadden re Reynolds Claim objection,     - 0,10        $75.00            $ 7.50
l2/2~/2015      JAN!       CO      12eview T3tehm claim and related documents (l.3).           1.30         $75.00       $1,137.50
12/2g/2p15      r.,p7      CU      Co}•respondence with Michael R. Seidl regarding             0.20        1025.00           $205,00
                                   claim objections
12!28/2015      LUJ        CO      Attention to claim objections, revisions                    0.30        1025,00           °x307.50
12/2g/2015      TV1TtS     c0      Review exhibits for omnibus objections; emails              0.50         675,00           $33'7.50
                                   from and to T3rian Martin re: same
12/?8/2015      MItS       CO      Draft ii~•st omnibus objection to claims                    ~.$0         G75,Q0       $1,890.00
12/28/2015      MRS        L~>        Drait second omnibus objectio~i to claims                 1 •y0       6%5,OU       $1,282,50
 17/28/?G 1 S   MKS        CU      I;ttiail to john Ma~•ris re: claims objections              0.10        (>7g.pp            X67.50
 12/28/2015     MRS        L~~     l~~nails fi~am and to Aj•men t~mril<iai~ ►~e; cfai~~~s      0.30         G'75,00          $202.50
                                   objection issues
 12/28/2,015    MRS        CO      ~nlails to and from Laura Jones re: claims objection        O.I O        675.00            $67.50
                                   issues
 12/29/2015     MRS        CO      Ca11 fi•oin John Morris re: claims objections               0.20         6'75A0           $135.00
 12/29/2015     MRS        LU         Review revised exhibits for omnibus objections           0.30         675.00           $202.50
 12/29/7015     MRS        GO      l~mails from and to Armen Lmrikian 3~e: declarant           O.10         675.00            $67.50
                                   1'0~• claims gbjections
 12/19/2015     MKS        LU      Call from ~1r•men Ejnrildan and l~rian Martin re:            Q,20        g'~~,pp          $135.00
                                   claims objaciions
 12/29/2015     MRS        cn      Review and revise fiz•st oinnibtis objection to claims      0.4~         675.00           $270.00
 12/29/x015     MRS        ~%~'~      Review and revise second omnibus objection to             ~•~10       675.00           $270,00
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                         Case15-11880-BLS
                              15-11880-BLS Doc
                                           Doc816-10  Filed01/15/16
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                                                                                                                            ._..---
                                  claims
12/30/2015      DMl3      ~%n     CZeview omnibus claim objection (,3) and call to L.          O.SO        X75.00           $437.5Q
                                  Jones re same (.2).
12/30/2015      IaD,T     CO      Revie~+ omnibus claims objections                            0.60       ]025.00           $615.00

12/3Q/2015      MRS       CO      Review revised abjection exhibits; erriails from and         0,30        b7S.U4           $202.50
                                  to Irian Ivla~~tin re: same
1213Q/2015      MKS       GO      Finails from and to Armen Ftnrikian re: declarations         0.]0        b~S.00            $67.50
                                  for objections
12/30/2015      1VIT2S    CO      Emails to and fi•om Leti Sanchez re: objectior7              0.20        675.00           $135.00
                                  service issues
12/30/201 S     MItS      ~=(U    Revise and finalize first omnibus objection;                 0.80        675.00           $540A0
                                  coordittale ding and sef•viee ai'same
                MttS      Cq      Revise and finalize second omnibus objection;                0.80        ~;~g,pp          $5~p,pq
12/30/2Q15
                                  coordinate filing and service of same
12/30/2015.     JAM       CO      Review/ revise Second Omnibus Claims Objection               2.20.       8'75.00      $1,925,00
                                  and supporting documentation {1,1); review/ revise
                                  first Omnibus Claims Objection and supporting
                                  documentation (0.9); emails with M. Seidl z•egarding
                                  Omnibus Objections (0.~)
                DMB        CO     1~'ollovr up calt with L, Jones re claims objections.        0.20        875.00 _          $175.00
12/31/2015
                                                                                              24.00                    $18,835.00

   Con~~pensatioia I'~of [~3160~
                PFC        ~~'       Draft Gej~ti~cate of Na Objection Tte~ardin~ PSL&J        0,40        295;00            $118,00
12/16/2015
                                     I.,LI"s Septembef~ 2015 Monihly Fee Application.
                                     {.2)> Prepare for ~lin~;(,2)
                           CP        T~raft Oci. 2015 fee application                           1.00       650.00            $650,00
 12/18/20 i 5   WI,R
                'WLY2      ~%1'      keview and revise October 2015 fee application            0.90        650.00            ~585.Od
]2/18/2015
                CAK        Lp        Review and update October fee application                 0.40         295.00           $1 18.00
 1 2/20201 5
                CSI{       G~'       Coordinate posting, filing and service of October fee     0,~0         295.00            $59.00
 12/21/201 S
                                     application
                T,DJ       CP        Review and finalize interim foe application (Octabei~      0.30       1025.00           $307,50
 l2/21/?O15
                                     X015)
 12/21/2015     I'~,G      C.P.      Draft Notice of FiNng PSZ&J C.,LP's October 20l 5          0.50        295.40.          $147,50
                                     Monthly Fce Application and CerCificate vi' Service
                                     (.3); Prepare for ding and service (.2)
                                                                                                3.70                        $1,985.00

   Executory Contracts [~31~~J
                 LDJ       ~L        Review Gluck objection to rejection motion                 0.30       1025.00           $307:50
 12/10/2015
                 LD.T      ~C        Review Cluck matter status, develop strategy going         2.30       1p25.00          $2,357.50
 12/21/2015
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                                 forward
12/22/2015     LDJ       ~C      Continued attention to Gluck objection to rejection         1.00      IU25.OQ       ~1,025,p0
                                 TX10ti1011

12/22/2015     JAM       ~~%     Revises pr~oposad scheduling order (:2); t•eview           5.00        875.0        $4,37S.OQ
                                 ination to reject Gludk license; agr•eament (.5);
                                 review objection to motion to reject Gluck license
                                 agreement (.'7); review caselaw in section 36S (3.0);
                                 review transcript fi•am rejecCion hearing (.3); review
                                 draft reply on motion to reject Uluck license (.3).
12/23/2015     JAM        ~%~    "Ielephone conference with L. Jones, V. Dur~•er re          Q.60       875.00           X525,00
                                 Gluck objection (.2); telephone con~'orenee with L.
                                 Jones, V. Dut~~e3•, A. I,i, M. Miuti re Gluck objection
                                 (.1); telephone conference with L. Tones re Crluak
                                 objection (. Y ); review draft Rapid to Gluck objection
                                 {.2).
]2/29/2015     DM~3       ~C     Call with L,. Jones re Gluck (.3); initial review with      0.90       875.00           $787.SU
                                  materials re satn~ (,6).
12/29/201 S    I,UJ       ~C     Corxespond with John Morf~is re: a•eply to <rtuck           d.~0      1025,00           $205.OU
                                 objection
12/29/2015     1.~7,~     ~~'    neview draft reply to Gluck objection                       Q•4~      102,5,00          $410,p0

12/29/2015     JAM        ~'C    Review/yevise Reply tot .Gluck opposition eo                4.90       $75.00       $4,287,50
                                 motion ro reject license agreement (4.'7); c-mails
                                 with T,. Jones re Repay to ~'. Gluck (.l); telephone
                                 conference with M. Seidl re an~nibus objections (,1).
I~/30/2015     DiVIC3     ~~%    Revie~~/analysis re rejection motions 365(n) based          1.3~       875.00       $1,137.50
                                 objection and draft reply (1.1); call with I,. Janes re
                                 same {,2),
12/30/2015     HDH        ~%~=       Revicv,+ and analyze Gluck rejection motion,            2•~0       750.00       $1,500,00
                                     coiitt•act; objection and di•afl of reply
12/30/201 S    I-iDi-I    ~~         Cot•respond with Laura Uavis Jones and John,A,          0.30       750.00           $225.00
                                     Morris re Glucic rc;ply
12/31/2015     7-IDI-I    rC         Research trademark termination issues                   2.80       7SQ,00       X2,100.00

12/31/2015     HT7~-I     ~C         Revise reply brief re Gluck rejection                   l .50      750.0        $1,125.00
                                                                                            2350                    $20,357.50

  ~ro~a.r~ sr~v~c~r~ root ~r~~rr~ Mt~.~r~rr,~:                                                                    ~51,431.~0
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72779     00002                                                                        December 31, 2015



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 11 /07/2015     "TE      1'1•avel expense [~ 110],rAM `fl~avel expense for toll fee      11.08
                          (NY-PC;)

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 12/01/2015      DC        72779.00007 Digital Iegal Charges fog• 12-01-15                 6.50

 12/01/2015      RI;       (17$ @0.10 PEIt PG)                                            17.80

 12/01/2015      CtE      (1 @0.10 PL;R PG)                                                0.~ ~

 12/02/2015      RE       (1 @0,10 PLTZ PG)                                                0,10

 ]2/02/2015      RE2       SCAN/COPY {8 ~~0,i ~ PP,R PG)                                   0.80

 12/02/2015      R~2.      SCAN/COPY(12 @0.10 PER PG)                                      1,20

 ]2/03/2015      RE        (i @0.10 PAR PG)                                                O.10

 12/03/2015      R~        (8 @O.10 PFR I'G)                                               0.80

 12/04/2015      RE        (1 L0.10 PER T'G)                                               ~•1 p

 12/04/2015      R~        (1 S9 @0.i 0 PLR PG)                                           15.90

 12/04/2015      RE        (280 ~a),0.10 PrR ~'G)                                         28,00

 12/04/201 S     12~'      (1 @0.10 PAR PG)                                                Q•14

 12/04/015       RE        (2 @0,10 PIR I'G)                                               0.~~

 12/04/2015      RE        (X @0,10 1'ER PU)                                               0.l0



 12/04/201 S     R~2       SCf~N/CUPY(75 @0.10 i'BR PG)                                    7:50



 12/04/201 S     R~2       SCAN/COSY(27 @0.1 Q t'LIZ 7'G)                                   2.70



 12/04/20]5      RE2       SCAN/COPY(81 @O.10 PEn PG)                                       $.10



 12/04/2015      RE2       SCAN/COPY(74 @0.10 PER PU)                                       7.40
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 12/07/2015     RE         (8 @0,]0 PAR PG)                                                   0.80

 12/07%201 S    RE         (1 @0.10 PI Tt 1'G)                                                0.10

 1 2/071201 S   R~         (82 @0,l0 PER PG)                                                  8.20

 12/07/201 S    RE2         SCi1N/COPY(82 @0.10 PER PG)                                       8.2Q

 1?/0&/20l j    Kr         (1 @Q.10 PER PG)                                                   0,10

 12/08/2415     lZ'k;2      SCANIt;01'Y(30 @0,10 PER PG)                                      3,00

 12/08/201 S    RT~2        SCAN/COPY(20 @0,t 0 P~TZ 1'G)                                     2.Q0

 1 2108/201 5   RL2         SCAN/COPY(3 @O.10 PCR PG)                                         0.3U

 12/08/2015     RF2         SCAN/COPY(3 @O.IU PEl2 PG)                                        0.30

 12/09/201 S.   1Zki        (.1 1 T cJ0.10 A}~R nG)                                          1 1.10

 12/10/2015     Rr          (34S @0.10 PEtt PG)                                              34.50

 12/10/2.015    R~         (2(c~0.10 }'k:IZ PCB)                                              0.70

 12/]0/2015     Rl 2        SCAN/COPY(8 @O.10 I'] R PG)                                       0.&0

 12/10/2015     RE2         SC~1NlCOI'Y(22 @U.10 T'ER PG)                                     2.20

 ]2/10/201 S    RE2         SCAN/COPY(l0 @0.10 YER PG)                                         I.Op

 12/11/20 # S   RE          (164 @0.10 PAR PU)           ~    ~                               16.40

 12/11J2015     RI'         (1 @0.10 1'I;R ~'G)                                               0.10



 12/l 1/2015    ltd?        SCAN/COPY(26 00,10 PFaTZ PG)                                      2,60



 12!14;?015     RE          (l8 @0,30 PER PG)                                                  1,80



 l 2/14/201 S   RE          (1 (aJ0.1 U Pl~.R ~'G)                                             0.10



 12!1 S/2015    R~          (41 (~r;0.10 T'~;IZ ICJ)                                           4.1 U



 12!15/2015     RE          (1 @O.IO PF?R PCr)                                                 0.10
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 12/15/2015    R~'       (4l q,0.10 Pk:iZ ~'G)                                               A,10

 12/15/2015    RE        (7S @U,10 ~'CR PG)                                                  7,50

 12/16/2015    T~F;      (107.(p;0.1 Q PIaI~. ]'(3)                                         1 Q,2U

 12/16/2015    RL2,      SC~~N/COPY (82 @O.10 PAR PG)                                        8,20

 12/16/2015    lt~z      SC/1N/COPY(b (a~Q.10 I'~R ~'G)                                       O.fiO

 l2/1~/2015    RE2       SCAN/COT'Y(~ 12 @0.10 PER NG)                                      11,20

 12/17/2015    IZ~;      (1 0;0.10 PFR PG)                                                   0,10

 l 2/17/2015   RB        ('7 @0',10 I'E7Z t'G)                                               0.70

 12/l 7/20]5   R~        (22 @0,r 0 PAR PG)                                                  2.20

 12/17/2015    IZE2      SCAN/COPY(6 chi 0.10 PER PG)                                        0.60

 12/17/2015    RL~2      SCAN/COPY(8 @0.10 PER PG)                                           0.80

 12/1$/2015    RF        Reproduction Expc;nse. [i~ 1 O 1]l 7 Aages, ~~I,R                    I ."10

 12/1$/2015    Rl;       (1 00.10 ~'FR PG)                                                    0.10

 12/18/2Q15    1tC       (82 ~q),0,10 PLR PG)                                                 8.20

 12/18/201 S   1Z~2      SCAN/CfJPY {$ @0,10 P1R PG)                                          0.80

 12/21/2015    PO        72779.00002 ;Postage Charges for 1721-15                            1 .70



 12/21/2015    RL        (230 @0,1 U I'l~R PG)                                              23.OQ



 12/21/2015    RE        (1 00.10 l'I:R PG)                                                   0.10



 12/21/20l 5   RC        (2 cr,0.10 PER PG)                                                   0.20



 12/21/2015    RE                                                                             1.80



 12/21/201 S   (tE:      (l00 x,0,10 AER PG)                                                 10.00
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 l 2/21/2015      RI;        (384(a;0,10 I'LsR PG)                                            38.40

 12/21/20 3 5     RE        (38 @0.10 PER PG)                                                   3,II0

 12/21/2015       TZI;      (90 @O.1~Q PER I'C)                                                 9.00

 12/2]/?015       CtE       ( 1.5 @0.10 PER PG)                                                 1.50

 12/Z1/2Q1S       R1         (11 S (a~0.1 Q r'~R 7'G)                                          11.50

 12/2 l /20 3 5   R~'       (3 @Q.10 PAR t'G)                                                   0.3~

 12/21/201 S      TZE;      (2(c~0.10 7'rsR PCr)                                                0.20

 12/21/2015       R~;        (1 @0.1 U PAR 1'G)                                                 0.10

 12/21/2015       RE2        SCAN/COPY(18 @0,l 0 PI;R PG)                                       1,80

 12/22/20 i 5     DC         7277).00002 Digital Legal Charges for 12-22-15                    37.50

 12/2?./2015      llC        72779.00002 Dibital ~.,e~al Char~cs for 12-22-i 5                  8.46

 12/22/201 S      7.,N       72779.00002 L,~xis Ghaa•~es foj~ 12-?2-15                        124.50

 12/22/2015       RE                                                                            0.30

 12/22/2015       RL2        SC;nN/COPY(1 S @0.10 PFR PG)                                       1.50

 12/22/2015       RE2        SCAN/COPY(29 @0.10 PER PG)                                         2.90

 12/22/2015       TtE2       SCAN/GOl'Y(29 @0,1 Q PER PG)                                       2.90

 12/22/2015       KE2.,      SCAN/COI''Y(15 @0.10 PE1Z PG}                                      1,50



 1 2/231201 S     1tE        (142 @U.10 PETZ PG)                                               14.20



 12/28/2015       RL         (1 @0.l U PER.PG)                                                  0,l0



 12/28/2015       Rai        (4 @.0.10 t'ER PCi)                                                0,10



 12/29/2015       RE         (2 ~r~,0.10 PER PG)                                                0.20
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 12/29/2015    RE2        SCnN/COPY (106 x,0.10 PER NG)                                   10.60

 12/30/2015    1ZL;      (20 @0.10 Pr~,R PG)                                               2.00

 12/30/ZOlS    RE        (G5 ~a),0,101?1~R Z'G)                                            6.50

 12/30/2015    RE        (1'7 ~c~0.10 PAR PG)                                              1.70

 12/30/2015    RE        (2 @0.1 ~ PAR PG)                                                 020

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   Total ~;xpenses for this I1~Catter                                               $1,040. 9
